           Case 1:24-cv-22045-DPG Document 1-1 Entered on FLSD Docket 05/29/2024 Page 1 of 3
Message Report
Generated: 05/22/2024 at 08:21 AM by stephen belafonte                             OurFamilyWizard
                                                                                   ourfamilywizard.com
Number of messages: 14                                                             info@ourfamilywizard.com
Timezone: America/Los_Angeles                                                      (866) 755-9991

Parents: stephen belafonte, Mel JB
Child(ren): m        brown
Third Party:




Message 1 of 14
Sent:             04/15/2024 at 05:01 AM
From:             stephen belafonte
To:               Mel JB (First Viewed: 04/19/2024 at 05:53 AM)
Subject:          Missed FaceTime
Attachments:      Me_Motha_84.jpeg (233 KB)
See attached M        ’s calls to you this morning. You did not answer.

Message 2 of 14
Sent:             04/18/2024 at 08:59 AM
From:             stephen belafonte
To:               Mel JB (First Viewed: 04/19/2024 at 05:53 AM)
Subject:          Missed FaceTimes
Attachments:      Me_Motha_85.jpeg (231 KB)
                  Me_Motha_85.jpeg (237 KB)
See attached Madison’s calls to you from today and yesterday. You didn’t answer.

Message 3 of 14
Sent:             04/21/2024 at 09:09 AM
From:             stephen belafonte
To:               Mel JB (First Viewed: Never)
Subject:          Missed FaceTime
Attachments:      Me_Motha_86.jpeg (231 KB)
See M        ’s calls to you this morning. You did not answer.

Message 4 of 14
Sent:             04/22/2024 at 08:16 AM
From:             stephen belafonte
To:               Mel JB (First Viewed: Never)
Subject:          Missed FaceTime
Attachments:      Me_Motha_87.jpeg (229 KB)
See attached M        ’s calls to you today. You did not answer.




                                                                                                              Page 1 of 3
           Case 1:24-cv-22045-DPG Document 1-1 Entered on FLSD Docket 05/29/2024 Page 2 of 3
Message 5 of 14
Sent:             04/25/2024 at 01:31 PM
From:             stephen belafonte
To:               Mel JB (First Viewed: Never)
Subject:          Missed FaceTime
Attachments:      Me_Motha_88.jpeg (233 KB)
See attached M        ’s calls to you this morning! You did not answer.

Message 6 of 14
Sent:             04/28/2024 at 09:09 AM
From:             stephen belafonte
To:               Mel JB (First Viewed: Never)
Subject:          Missed FaceTime
Attachments:      Me_Motha_89.jpeg (232 KB)
See attached M        ’s calls to you this morning. You did not answered

Message 7 of 14
Sent:             04/29/2024 at 08:21 AM
From:             stephen belafonte
To:               Mel JB (First Viewed: Never)
Subject:          Missed FaceTime calls
Attachments:      Me_Motha_90.jpeg (232 KB)
See attached M        ’s calls to you this morning. You did not answer

Message 8 of 14
Sent:             05/02/2024 at 05:13 AM
From:             stephen belafonte
To:               Mel JB (First Viewed: Never)
Subject:          Missed FaceTime
Attachments:      Me_Motha_91.jpeg (232 KB)
See attached M        ’s calls to you this morning. You did not answer

Message 9 of 14
Sent:             05/08/2024 at 04:51 AM
From:             stephen belafonte
To:               Mel JB (First Viewed: Never)
Subject:          Missed FaceTime
Attachments:      Me_Motha_92.jpeg (231 KB)
See M        ’s calls to you this morning. You did not answer.




                                                                                          Page 2 of 3
           Case 1:24-cv-22045-DPG Document 1-1 Entered on FLSD Docket 05/29/2024 Page 3 of 3
Message 10 of 14
Sent:             05/09/2024 at 05:18 AM
From:             stephen belafonte
To:               Mel JB (First Viewed: Never)
Subject:          Missed FaceTime
Attachments:      Me_Motha_93.jpeg (232 KB)
See M        ’s calls to you this morning, you did not answer.

Message 11 of 14
Sent:             05/10/2024 at 12:34 PM
From:             stephen belafonte
To:               Mel JB (First Viewed: Never)
Subject:          Missed FaceTime
Attachments:      Me_Motha_94.jpeg (228 KB)
See below M        ’s calls to you this morning. You did not answer again.

Message 12 of 14
Sent:             05/12/2024 at 09:19 AM
From:             stephen belafonte
To:               Mel JB (First Viewed: Never)
Subject:          Missed FaceTime
Attachments:      Me_Motha_95.jpeg (233 KB)
                  Me_Motha_96.jpeg (239 KB)
See attached M        ’s calls to you from yesterday AND today on Mother’s Day. You did not answer again. This the 5th day in row of not answering
her calls.

Message 13 of 14
Sent:             05/13/2024 at 05:01 AM
From:             stephen belafonte
To:               Mel JB (First Viewed: Never)
Subject:          Missed FaceTime
Attachments:      Me_Motha_97.jpeg (231 KB)
See attached M        ’s calls to you this morning. You did not answer. Day 6 of not answering.

Message 14 of 14
Sent:             05/17/2024 at 08:15 AM
From:             stephen belafonte
To:               Mel JB (First Viewed: Never)
Subject:          Missed FaceTime
Attachments:      Screenshot_2024-05-17_at_7.54.58_AM_1.jpeg (239 KB)
See attached M        ’s calls to you this morning. You did not answer.




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